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               EXHIBIT C
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               United States Department of the Interior
                                FISH AND WILDLIFE SERVICE

                                     Post Office Box 1306
                                Albuquerque, New Mexico 87103

In Reply Refer To:
FWS/R2/ES/FOIA
FWS-2018-01126 (Partial 1)




Mr. Damien Schiff
Pacific Legal Foundation
930 G Street
Sacramento, California 95814

Dear Mr. Schiff:

This partially responds to your Freedom of Information Act (FOIA) request dated August 14,
2018, in which you seek the following:

       “… all documents relied on, directly or indirectly, by the Service as part of its decision to
       deny the flycatcher delisting petition, 82 Fed. Reg. 61,725 (Dec. 29, 2017), including all
       written communications and memoranda.”

Your FOIA request was assigned tracking number FWS-2018-01126 and forwarded to the
Arizona Ecological Services Field Office and the Regional Office Ecological Services Division
for processing. For this partial response, we are providing approximately 460 records responsive
to your request. These records are provided to you in full on the enclosed compact disc (CD).
Please note, 181 emails and associated attachments are contained in a single Portable Document
Format (PDF) portfolio.

The released material includes draft documents and briefing materials (briefing papers,
information memorandums, etc.) that technically meet the requirements to be withheld under the
deliberative process privilege of FOIA Exemption 5 (5 U.S.C. §552(b)(5)), i.e., predecisional
and deliberative documents that are part of the decision-making process and include opinions,
recommendations, and/or deliberations on legal or policy matters. However, after consulting
with our legal counsel, and carefully considering the parties involved, we believe there are no
institutional, commercial, and/or personal privacy interests at risk with the release of these
documents. Therefore, we are releasing the records to you in full as a discretionary release.
Please note, that in exercising administrative discretion, the Service does not waive its ability to
invoke applicable FOIA exemptions for any arguably similar information in future requests.
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Mr. Damien Schiff                                                                          2


Please note the 2007 FOIA amendments created the Office of Government Information Services
(OGIS) to offer mediation services to resolve disputes between FOIA requesters and Federal
agencies as a non-exclusive alternative to litigation. Using OGIS services does not affect your
right to pursue litigation and does not affect the timing of filing an appeal with the Department’s
FOIA & Privacy Act Appeals Officer. You may contact OGIS in any of the following ways:

       Office of Government Information Services
       National Archives and Records Administration
       8601 Adelphi Road - OGIS
       College Park, MD 20740-6001
       E-mail: ogis@nara.gov, Web: https://ogis.archives.gov
       Telephone: 202-741-5770 / Fax: 202-741-5769 / Toll-free: 1-877-684-6448

You also may seek dispute resolution services from our FOIA Public Liaison, Cathy Willis at
720-425-5173 or via email at cathy_willis@fws.gov.

For your information, Congress excluded three discrete categories of law enforcement and
national security records from the requirements of the FOIA. See 5 U.S.C. § 552(c) (2006 &
Supp. IV (2010)). This response is limited to those records that are subject to the requirements
of the FOIA. This is a standard notification that is given to all our requesters and should not be
taken as an indication that excluded records do, or do not, exist.

We will continue to process the remaining records of your request and provide a final response
as soon as possible. If you have any questions or concerns regarding this request, please contact
Government Information Specialist, David Tischer, at 505-248-6658 or by email at
fw2foia@fws.gov.

                                                  Sincerely,
                                                  MELANI Digitally signed
                                                         by MELANIE RUIZ

                                                  E RUIZ Date: 2019.05.02
                                                         16:32:32 -06'00'
                                                  Region 2 FOIA Coordinator

Enclosure (CD)
